Case 3:17-cv-02366-BAS-KSC         Document 524      Filed 08/18/20   PageID.35807   Page
                                         1 of 19

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                              UNITED STATES DISTRICT COURT
   16
                            SOUTHERN DISTRICT OF CALIFORNIA
   17
        Al Otro Lado, Inc., et al.,                   Case No.: 17-cv-02366-BAS-KSC
   18

   19                      Plaintiffs,                JOINT MOTION FOR
                                                      DETERMINATION OF JUNE 2020
   20            v.                                   CLAWBACK
   21   Chad F. Wolf,1 et al.,
   22
                           Defendants.
   23                                                 DECLARATIONS OF STEPHEN M.
                                                      MEDLOCK AND ALEXANDER J.
   24                                                 HALASKA FILED CONCURRENTLY
   25

   26

   27
        1
         Acting Secretary Wolf is automatically substituted for former Acting Secretary
   28   McAleenan pursuant to Fed. R. Civ. P. 25(d).
                                                              JOINT MOTION FOR DETERMINATION OF
                                                                              DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC    Document 524    Filed 08/18/20    PageID.35808   Page
                                    2 of 19

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                                                       JOINT MOTION FOR DETERMINATION OF
                                                                       DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC      Document 524     Filed 08/18/20   PageID.35809     Page
                                      3 of 19

    1         The parties submit this joint motion for purposes of deciding the propriety of
    2   certain of Defendants’ claims of the deliberative-process and attorney-client
    3   privileges. Defendants asserted privilege over these documents in a letter dated June
    4   15, 2020 (“June 15 Clawback”). Plaintiffs challenged all of these privilege claims.
    5   The parties have conferred and narrowed their dispute to 17 documents, or portions
    6   thereof, which are listed below and will be lodged with this Court for in camera
    7   review, highlighted to identify the material over which Defendants are asserting
    8   privilege.
    9

   10       Document Bates Range              Defendants’ Deliberative Process
                                            Privilege (“DPP”) and/or Attorney-
   11                                       Client Privilege (“ACP”)Assertions
   12            A        AOL-DEF-       ACP/DPP (entire document): email
                          0094030        discussing counsel’s involvement and
   13                                    communications regarding review of
   14                                    attached, non-final draft response to inquiry
                                         from outside entity; email also discusses
   15                                    preparation for responding to question from
   16                                    OFO leadership on related topics.
                 B        AOL-DEF-       DPP (entire document): briefing memo
   17                     00094032       circulated for purposes of assisting in draft
   18                                    response to inquiries from outside entity
                                         and OFO leadership.
   19            C        AOL-DEF-       DPP/ACP (entire document): draft, non-
   20                     00094034       final, predecisional document drafted by
                                         CBP counsel for purposes of providing
   21
                                         legal advice.
   22                D    AOL-DEF-       DPP/ACP (entire document): draft, non-
                          00094036       final letter response to outside entity;
   23
                                         document still under review by counsel for
   24                                    purposes of providing legal advice.
                 E        AOL-DEF-       ACP/DPP (entire document): email
   25
                          00094022       discussing counsel’s involvement and
   26                                    communications regarding review of
                                         attached, non-final, draft response to
   27
                                         inquiry from outside entity.
   28            F        AOL-DEF-       DPP (entire document): briefing memo
                                                          JOINT MOTION FOR DETERMINATION OF
                                                 1                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 524    Filed 08/18/20   PageID.35810     Page
                                   4 of 19

    1                  00094024      circulated for purposes of assisting in draft
    2                                response to inquiries from outside entity
                                     and OFO leadership.
    3          G       AOL-DEF-      DPP/ACP (entire document): non-final,
    4                  00094026      predecisional, draft document, drafted by
                                     CBP counsel for purposes of providing
    5                                legal advice.
    6          H       AOL-DEF-      DPP/ACP (entire document): draft, non-
                       00094028      final letter response to outside entity;
    7                                document still under review by counsel for
    8                                purposes of providing legal advice.
               I       AOL-DEF-      DPP/ACP (entire document): email
    9
                       00069025      discussing counsel’s involvement and
   10                                communications regarding review of
                                     attached documents; response to inquiry
   11
                                     from outside entity; email also discusses
   12                                preparation for responding to question from
                                     OFO leadership on related topics.
   13
               J       AOL-DEF-      DPP (entire document): briefing memo
   14                  00069027      circulated for purposes of assisting in draft
                                     response to inquiries from outside entity
   15
                                     and OFO leadership.
   16          K       AOL-DEF-      DPP/ACP (entire document): non-final,
                       00069029      predecisional document drafted by CBP
   17
                                     counsel for purposes of providing legal
   18                                advice.
   19
               L       AOL-DEF-      DPP/ACP (entire document): draft, non-
                       00069031      final letter response to outside entity;
   20                                document still under review by counsel for
   21
                                     purposes of providing legal advice.
               M       AOL-DEF-      ACP/DPP (entire document): email
   22                  00069033      discussing counsel’s involvement and
   23                                communications regarding review of
                                     attached, non-final, draft response to
   24                                inquiry from outside entity.
   25          N       AOL-DEF-      DPP (entire document): briefing memo
                       00069035      circulated for purposes of assisting in draft
   26                                response to inquiries from outside entity
   27                                and OFO leadership.
               O       AOL-DEF-      DPP/ACP (entire document): draft, non-
   28
                                                      JOINT MOTION FOR DETERMINATION OF
                                             2                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC    Document 524    Filed 08/18/20   PageID.35811    Page
                                    5 of 19

    1                   0069037       final, predecisional document drafted by
    2                                 CBP counsel for purposes of providing
                                      legal advice.
    3           P       AOL-DEF-      DPP/ACP (entire document): draft, non-
    4                   00069039      final letter response to outside entity;
                                      document still under review by counsel for
    5                                 purposes of providing legal advice.
    6          Q2       AOL-DEF-      AC: pg. 665936 (substance of email from
                        00665934      Julie Koller (OCC), to James R. Hutton and
    7                                 Louisa Slocum (OCC), copying Marc
    8                                 Bennett Courey (OCC), Todd A. Hoffman,
                                      and Randy J. Howe): email from counsel to
    9                                 client made for purposes of providing legal
   10                                 advice concerning metering guidance;
   11
                                      AC, DP: pg. 665936 (substance of email
   12                                 from James R. Hutton to Julie Koller
                                      (OCC), and Louisa Slocum (OCC),
   13
                                      copying Marc Bennett Courey (OCC),
   14                                 Todd A. Hoffman, and Randy J. Howe):
                                      email from client to counsel made for
   15
                                      purposes of seeking and obtaining legal
   16                                 advice concerning metering guidance;
                                      reflects predecisional questions regarding
   17
                                      metering guidance.
   18
                                      AC, DP: pg. 665937 (substance of email
   19
                                      from James R. Hutton to Julie Koller
   20                                 (OCC), and copying Marc Bennett Courey
                                      (OCC) Louisa Slocum (OCC)): email from
   21
                                      client to counsel made for purposes of
   22                                 seeking and obtaining legal advice
                                      concerning draft metering guidance.
   23

   24                                 AC, DP: pg. 665937 (substance of email
                                      from Julie Koller (OCC) to James R.
   25
                                      Hutton, copying Louisa Slocum (OCC)
   26

   27
        2
         These documents are referred to below as “Doc.” They will be lodged with the
   28   Court for in camera review by Defendants.
                                                       JOINT MOTION FOR DETERMINATION OF
                                              3                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 524    Filed 08/18/20   PageID.35812   Page
                                   6 of 19

    1                                and Marc Bennett Courey (OCC)): email
    2                                from counsel to client made for purposes of
                                     seeking and obtaining legal advice
    3                                concerning draft metering guidance;
    4                                reflects predecisional questions regarding
                                     metering guidance.
    5

    6                                Note: Other portions of this document have
                                     already been properly redacted as AC and
    7                                DP
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                                                      JOINT MOTION FOR DETERMINATION OF
                                             4                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC           Document 524        Filed 08/18/20      PageID.35813        Page
                                           7 of 19

    1                                DEFENDANTS’ ARGUMENT
    2
                 Plaintiffs’ brief on this dispute focuses on a draft November 2016 metering
        guidance document that was not issued to the field (“Draft ”),3 which is protected by
    3
        the attorney-client and deliberative process privileges. The government has not
    4
        waived the privileges, and Plaintiffs have not shown that the deliberative-process
    5
        privilege should yield. Defendants have not placed the attorney-client
    6
        communications at issue because they have not relied on the communications as a
    7
        defense to Plaintiffs’ claims. The deliberative process privilege should not yield
    8
        because the interest in not disclosing the Draft outweighs Plaintiffs’ need for it.
    9
            I.      DEFENDANTS HAVE NOT WAIVED ATTORNEY-CLIENT
   10
                    PRIVILEGE OVER THE DRAFT
   11
                 The Draft is protected by the attorney-client privilege because it contains
   12
        “confidential communications between attorneys and clients, which are made for the
   13
        purpose of giving legal advice,” United States v. Richey, 632 F.3d 559, 566 (9th Cir.
   14
        2011) (citation omitted), and was also an attachment to an email that also contains
   15
        privileged communications. The privilege exists when:
   16            (1) [] legal advice of any kind is sought (2) from a professional legal adviser
   17            in his capacity as such, (3) the communications relating to that purpose, (4)
                 made in confidence (5) by the client, (6) are at his instance permanently
   18            protected (7) from disclosure by himself or by the legal adviser, (8) unless the
   19            protection be waived.
   20   Id. (brackets in original) (citation and quotation marks omitted).

   21            Although the original author of the Draft is a non-attorney CBP official,

   22   counsel participated in its drafting, providing substantive edits and advice. Davies

   23   Decl., Aug. 17, 2020 ¶ 9. Additionally, the Draft was attached to an email chain

   24   containing a proposed response to an outside agency and related discussions,
   25   including the substance of a draft under review by counsel. Id. ¶¶ 6, 9, 11-12, 19.
   26   The emails in that chain further reveal the legal advice that agency counsel provided
   27
        3
          Defendants still assert that all documents are subject to the deliberative process privilege and
   28   that Docs. A, C-E, G-I, K-M, O and portions of Q are subject to the attorney-client privilege.
                                                                    JOINT MOTION FOR DETERMINATION OF
                                                         5                          DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 524      Filed 08/18/20    PageID.35814     Page
                                       8 of 19

    1   their client. Id. ¶¶ 6, 12, 19. The four versions of the CBP internal email chain, Docs.
    2   A, E, I, M, reflect “agency counsel’s involvement in reviewing the draft response”
    3   and counsel’s “participation in related discussions with OFO and CBP leadership on
    4   topics related to the draft response contained in the email.” Davies Decl. ¶ 6.
    5   Attorneys from the Office of Chief Counsel (“OCC”) are also copied on every email
    6   within the chain. Id. ¶ 6.
    7         Two of each email’s attachments – the draft letter response to the NGO, Docs.
    8   D, H, L, P; and the Draft, Docs. C, G, K, O – were appended to the email chain for
    9   legal advice purposes. Davies Decl. ¶¶ 9-10, 12. When emails were sent, counsel
   10   was reviewing the draft letter response to provide legal advice to OFO. Id. ¶ 10.
   11   Additionally, as noted above, counsel helped write the Draft. Id. ¶ 9. The emails
   12   contain communications between OFO leadership and CBP’s OCC for the purpose
   13   of obtaining legal advice. Id. ¶¶ 5-6, 12. They therefore fall within the attorney-client
   14   privilege. Revelation of the preliminary draft of the guidance would reveal attorney-
   15   client communications and legal advice constituting revisions to that guidance.
   16         Plaintiffs do not argue that the attorney-client privilege does not cover the
   17   Draft; rather, they argue that Defendants have implicitly waived the privilege,
   18   alleging that Defendants have affirmatively raised the Draft and prioritization-based
   19   queue management documents as a key part of their defense. See infra (citing Dkt.
   20
        Nos. 283 (Answer) at ¶ 7, 406 (Defs.’ Opp’n Mot. Class Cert.) at 10). Plaintiffs
   21
        construe Defendants’ statements with inappropriate breadth. Defendants state in the
   22
        Answer and Class Certification Opposition that CBP issued guidance permitting
   23
        ports of entry to implement metering procedures based on their operational
   24
        capacities when necessary and appropriate to facilitate orderly processing and
   25
        maintain port security and sanitation for the public. See Dkt. No. 283 ¶ 7; 406 at 10.
   26
        Noting that CBP issued guidance which, like much government policy, was
   27
        formulated with the input of counsel does not waive the attorney-client privilege
   28
                                                             JOINT MOTION FOR DETERMINATION OF
                                                   6                         DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC          Document 524        Filed 08/18/20      PageID.35815        Page
                                          9 of 19

    1   over that input. See Home Indemnity Co. v. Lane Powell Moss & Miller, 43 F.3d
    2   1322, 1326 (9th Cir. 1995) (explaining under what circumstances a party may
    3   impliedly wave attorney-client privilege). Defendants have not waived the privilege
    4   because they have not affirmatively placed the contested attorney-client
    5   communication at issue in the litigation or defended themselves in this lawsuit by
    6   stating that they acted in reliance on the legal advice contained therein. See Rock
    7   River Comm’ns., Inc. v. Universal Music Group, Inc., 745 F.3d 343, 353 (9th Cir.
    8   2014); see also United States v. Amlani, 169 F.3d 1189, 1195 (9th Cir. 1999).
    9   Moreover, Defendants have produced the internal guidance cited in their Answer
   10   and Opposition to Class Certification. See Docket No. 308-6. That the language of
   11   the metering guidance changed during the course of drafting, even with the input of
   12   counsel, does not waive the privilege.4 See Amlani, 169 F.3d at 1195 (“[P]rivileged
   13   communications do not become discoverable simply because they are related to
   14   issues raised in the litigation.”) (citation and quotation marks omitted).
   15       II.     THE DELIBERATIVE PROCESS PRIVILEGE SHOULD NOT
   16               YIELD.
   17             The   deliberative     process      privilege     protects     “advisory      opinions,
   18   recommendations, and deliberations comprising part of the process by which
   19   government decisions and policies are formulated.” Oceana Inc. v. Ross, 2018 WL
   20   5276297, at *2 (C.D. Cal. Aug. 20, 2018)). To qualify for the privilege, a document
   21   must be predecisional and deliberative. Sierra Club, Inc. v. U.S. Fish & Wildlife
   22   Serv., 925 F.3d 1000, 1011 (9th Cir. 2019). A document is predecisional when it
   23   predates the decision to which it relates, id. at 1012, 1014, and deliberative if it
   24   “would expose an agency’s decisionmaking process in such a way to discourage
   25   candid discussion within the agency and thereby undermine the agency’s ability to
   26   perform its function,” Carter v. U.S. Dep’t of Commerce, 307 F.3d 1084, 1089 (9th
   27
        4
          The breadth of Plaintiffs’ waiver assertion also would render the deliberative process privilege
   28   largely moot.
                                                                   JOINT MOTION FOR DETERMINATION OF
                                                        7                          DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 524 Filed 08/18/20         PageID.35816      Page
                                       10 of 19

    1   Cir. 2002); see Sierra Club, Inc., 925 F.3d at 1015 (listing “draft documents” as
    2   example of deliberative material).
    3         The Draft is covered by the deliberative process privilege. It is a non-final,
    4   predecisional policy document. This version of the metering guidance was never
    5   issued to the field. See Davies Decl. ¶ 9. Instead, it was updated before being
    6   finalized and issued in April 2018. The disclosure of this document would reveal the
    7   content of the predecisional deliberations and recommendations regarding the
    8   implementation of metering that were not part of the final version of the metering
    9   guidance. “So long as such recommendations do not represent final agency policy,
   10   it is clear that they fall within the deliberative process privilege.” Nat’l Wildlife Fed.
   11   v. U.S. Forest Serv., 861 F.2d 1114, 1121 (9th Cir. 1988).
   12         Although the deliberative process privilege is a qualified one, it should not
   13   give way here. For the privilege to yield, Plaintiffs’ “need for the materials and need
   14   for accurate fact-finding [must] override the government’s interest in
   15   nondisclosure,” considering: (1) the relevance of the evidence; (2) the availability of
   16   other evidence; (3) the government’s role in the litigation; and (4) the extent to which
   17   disclosure would hinder frank and independent discussion regarding contemplated
   18   policies and decisions. FTC v. Warner Commc’ns, Inc., 742 F.3d 1156, 1161 (9th
   19   Cir. 1984). These factors weigh against the disclosure of a privileged draft because,

   20   even crediting Plaintiffs’ theory of the case, the Draft’s relevance to Plaintiffs’

   21
        arguments is tenuous, and Plaintiffs themselves cite other available evidence to
        support those arguments. By contrast, Defendants’ interest in protecting interim
   22
        drafts from disclosure is strong because disclosure “would reveal agency
   23
        deliberations and negatively impact the decision-making process, as it would impede
   24
        open and frank discussions in the deliberative process.” Davies Decl. ¶¶ 16-18, 20.
   25
              Defendants disagree with Plaintiffs that the government’s “intent” is at issue
   26
        here. This case concerns the objective validity of the government’s metering or
   27
        “queue management” practices. Although Judge Bashant has stated that the validity
   28
                                                             JOINT MOTION FOR DETERMINATION OF
                                                   8                         DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 524 Filed 08/18/20         PageID.35817     Page
                                       11 of 19

    1   of the government’s justification for metering—operational capacity constraints in
    2   light of CBP’s multiple statutory mission sets—is at issue, the validity of this
    3   justification must be examined on its merits by evaluating the facts underlying those
    4   capacity constraints, which Defendants have produced in discovery. See Motor
    5   Vehicle Mfrs. Ass’n v. State Farm, 463 U.S. 29, 50 (1983) (“It is well-established
    6   that an agency’s action must be upheld, if at all, on the basis articulated by the agency
    7   itself.”).
    8          If Plaintiffs’ theory of the case were correct, the Draft is not evidence of an
    9   “illegal intent.” It is merely an earlier, draft version of the metering guidance.

   10   Plaintiffs suggest that the “documents link the Government’s policies to an illegal

   11
        intent to turnback asylum seekers who are in the process of arriving at a port of
        entry,” but it is unclear why an earlier reliance on one operational factor evidences
   12
        “illegal intent.” And, reliance on that factor does not preclude reliance on other
   13
        important operational factors when determining when a port should engage in
   14
        metering to ensure safety, security, and the orderly processing of travelers. Thus,
   15
        this document does not demonstrate pretext or undermine the government’s defense
   16
        that CBP’s ability to process insufficiently documented aliens is limited by finite
   17
        resources and its need to focus on other statutory mission sets.
   18
               Plaintiffs themselves cite to other evidence that they claim demonstrates a
   19
        switch from holding capacity to operational capacity as the reason to engage in
   20
        metering to manage the flow of travelers lacking sufficient entry documents. See
   21
        infra. The government’s need to protect interim, non-final views thus outweighs
   22   Plaintiffs’ need for the document. And the protective order—even the Attorneys’
   23   Eyes Only designation—cannot fully protect against the harms of disclosure of
   24   internal government deliberations. Although these deliberations are irrelevant to the
   25   merits and unnecessary due to other available evidence, their use in this litigation
   26   may result in their public release if not protected by the privilege. Such disclosure
   27   will chill officials’ frank and open communication, compromising future
   28   decisionmaking.
                                                             JOINT MOTION FOR DETERMINATION OF
                                                   9                         DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC          Document 524 Filed 08/18/20             PageID.35818        Page
                                          12 of 19

    1                                  PLAINTIFFS’ ARGUMENT
    2          This is a narrow privilege dispute that relates only to Document K.5 Two
    3   principles mandate the disclosure of the documents subject to this privilege dispute:
    4   (1) there is no “bad document” privilege, and (2) a party cannot play games with
    5   privilege by selectively disclosing documents.
    6          This case is focused on the Defendants’ policy of turning back asylum seekers
    7   that are in the process of arriving at ports of entry on the U.S.-Mexico border. In
    8   their Answer, Defendants “deny that CBP has implemented a ‘Turnback Policy’ and
    9   aver instead that CBP has issued guidance permitting ports of entry . . . to implement
   10   metering procedures based on their operational capacities.” Dkt. 283 at ¶ 7. As
   11   Defendants put it in their class certification opposition, turnbacks occurred at ports
   12   of entry on the U.S.-Mexico border for “operational purposes,” such as a lack of
   13   holding capacity, “not to deter [non-citizens] from seeking asylum in the United
   14   States.” Dkt. 406 at 10. One of the key documents Defendants have cited in support
   15   of this argument is an April 27, 2018 “metering guidance” memorandum. Dkt. 406-
   16   2. But Defendants’ argument ignores the fact that a
   17

   18                            . And by affirmatively putting the metering guidance and
   19   prioritization-based queue management memoranda at issue, Defendants have
   20   waived their attorney-client privilege claim over the prior drafts of the metering
   21   guidance memorandum.
   22   I.     The Document At Issue
   23          Although multiple version of the same email chain and attachments are listed
   24   above, this privilege dispute really deals with one document. Document K is a
   25   November 11, 2016 memorandum entitled “Metering at the Southwest Border
   26   POEs.” Id. at 029. According to the metadata that was produced with the document,
   27
        5
         For strategic reasons, Plaintiffs do not challenge Defendants’ privilege claims with respect to the
   28   other documents listed above.
                                                                   JOINT MOTION FOR DETERMINATION OF
                                                        10                         DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 524 Filed 08/18/20         PageID.35819     Page
                                       13 of 19

    1   it was drafted by a non-attorney, Robert Vaquero. It provides operational guidance
    2   on how metering should occur, not legal advice. Id.
    3         Importantly, Document K is a prior draft of the metering guidance
    4   memorandum that Defendants issued on April 27, 2018.
    5

    6

    7

    8

    9                                                               Id. at 029.
   10         The difference between “holding capacity” and “operational capacity” is
   11   critical to this case. Holding capacity refers to the physical space in a port of entry’s
   12   detention facilities—i.e., the actual number of asylum seekers that can be placed into
   13   the port’s temporary holding cells.       Ex. 1 at 74:11-14.      Operational capacity
   14   supposedly refers to the capacity of a port of entry when resource allocation and
   15   operational priorities are taken into account. Id. at 74:14-22.
   16         However, operational capacity is largely a fiction. CBP did not begin using
   17   the term “operational capacity” until 2018—when it realized that the holding
   18   capacity numbers CBP tracked on a daily basis showed that there was no need to
   19   turnback asylum seekers. Ex 3 at 161:8-10. The distinction between detention
   20   capacity and operational capacity is not memorialized in any statute, regulation,
   21   guidance, memorandum, or any sort of official document. Ex. 2 at 68:8-71:24; Ex.
   22   3 at 161:20-162:12; Ex. 4 at 50:4-51:7. Key documents that define the standard
   23   operating procedures for detention spaces at POEs do not mention operational
   24   capacity at all. Ex. 2 at 102:13-111:11. In fact, the term “operational capacity” has
   25   no concrete definition. Id. at 73:6-11, 110:24-111:11. CBP never even wrote down
   26   the factors that a port director should consider when determining a POE’s
   27   operational capacity. Id. at 111:13-112:13. CBP did not track operational capacity
   28   at any of its ports. Ex. 4 at 66:10-25. CBP has no way of reconstructing what the
                                                             JOINT MOTION FOR DETERMINATION OF
                                                  11                         DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 524 Filed 08/18/20        PageID.35820      Page
                                       14 of 19

    1   operational capacity of a port of entry would have been at any given time. Ex. 2 at
    2   129:7-14. In the end, operational capacity is what the port director says it is, without
    3   any reference to the actual holding space at the port. Ex. 3 at 181:22-182:4; see also
    4   Ex. 5 at 140:19-21 (“there’s not a definition of operational capacity that we were
    5   giv[en], so it would be up to interpretation.”). Document K is important direct
    6   evidence of the change from holing capacity to operational capacity.
    7                                                                                     , and
    8   when those figures no longer justified turning back asylum seekers, it moved to the
    9   fictitious “operational capacity” concept.
   10   II.   The Deliberative Process Privilege Does Not Apply
   11         As this Court has recognized, the deliberative process privilege is not
   12   absolute. Dkt. 446 at 5. It is a qualified privilege that is to be applied as narrowly
   13   as possible. See Coastal States Gas Corp. v. Dep’t of Energy, 617 F.3d 854, 868
   14   (D.C. Cir. 1980). Even if the privilege applies, the documents at issue may be
   15   discoverable if the plaintiffs’ “need for the materials and the need for accurate fact-
   16   finding override the government’s interest in non-disclosure.” L.H. v.
   17   Schwarzenegger, 2007 WL 2009807, at *2–3 (E.D. Cal. 2007) (citing FTC v.
   18   Warner Commc'ns., Inc., 742 F.2d 1156, 1161 (9th Cir.1984)). In Warner, the Ninth
   19   Circuit laid out four factors to be considered when balancing the plaintiffs’ need for
   20   discovery against the government’s privilege claim: (1) the relevance of the evidence
   21   sought to the litigation; (2) the availability of comparable evidence from other
   22   sources; (3) the government’s role in the litigation; and (4) the extent to which
   23   disclosure would hinder frank and independent discussion regarding contemplated
   24   policies and decisions. 742 F.2d at 1161.
   25         All four factors favor disclosure the documents here. (1) All of the documents
   26   link the Government’s policies to an illegal intent to turnback asylum seekers who
   27   are in the process of arriving at a port of entry. See Dkt. 280 at 60 (a key issue in
   28   this case is whether the Government’s stated justification for turn backs—
                                                            JOINT MOTION FOR DETERMINATION OF
                                                  12                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC      Document 524 Filed 08/18/20        PageID.35821     Page
                                      15 of 19

    1   “operational capacity constraints” is a pretext); Dkt. 446 at 6.        In particular,
    2   Document K shows that turnbacks were supposed to be based on a port of entry’s
    3                                  not the “operational capacity.” (2) There is no other
    4   evidence that directly shows that the policy documents that Defendants cite are based
    5   on a pretext. (3) The Government is a party to this case and the deliberative process
    6   privilege is “inapplicable where the agency’s decision-making is itself at issue.”
    7   Dkt. 446 at 5. (4) The disclosure of the documents at issue here would not hinder
    8   Government decision-making—the Government has no interest in the privacy of
    9   communications that violate the law and, at any rate, the Protective Order in this
   10   case restricts the disclosure of these documents. See Dkt. 446 at 6. Thus, even if
   11   the deliberative process privilege applied to these documents, all of the Warner
   12   factors, and this Court’s prior analysis of those factors, favor the disclosure of the
   13   documents.
   14   III.   Even If the Attorney-Client Privilege Applied, Defendants’ Waived the
   15          Privilege By Putting Document K At Issue
   16          As an initial matter, “[t]he attorney-client privilege only protects
   17   communications between attorney and client made for the purpose of seeking or
   18   delivering the attorney’s legal advice or representation.” Tattersalls Ltd. v. Wiener,
   19   2020 U.S. Dist. LEXIS 22656, at *9 (S.D. Cal. 2020) (citing California law). Here,
   20   there is no indication that Document K is even a communication with an attorney.
   21   It is a memorandum that was drafted by a non-attorney that does not have any
   22   redlines or comments reflecting attorney advice. It does not offer legal advice;
   23   instead, it offers operational instructions on how metering should occur. It is not
   24   privileged. And the mere fact that it was attached to a privileged email does not
   25   make the document itself privileged.
   26          Furthermore, “[w]here a party raises a claim which in fairness requires
   27   disclosure of the protected [document], the privilege may be implicitly waived.”
   28   Chevron Corp. v. Penzoil Co., 974 F.2d 1156, 1162 (9th Cir. 1992). The principle
                                                           JOINT MOTION FOR DETERMINATION OF
                                                 13                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC        Document 524 Filed 08/18/20         PageID.35822      Page
                                        16 of 19

    1   purpose of the waiver doctrine is to avoid the unfairness that would result from the
    2   privilege holder selectively disclosing favorable documents to an adversary, “while
    3   claiming the shelter of the privilege to avoid disclosing those that are less favorable.”
    4   Apple, Inc. v. Samsung Elecs. Co., 306 F.R.D. 234, 241 (N.D. Cal. 2015).
    5          In the Ninth Circuit, a party waives a privilege claim when “(1) the party
    6   asserts the privilege as a result of some affirmative act, such as filing suit; (2) through
    7   this affirmative act, the asserting part puts the privileged information at issue; and
    8   (3) allowing the privilege would deny the opposing party access to information vital
    9   to its [claims].” Home Indem. Co. v. Lane Powell Moss & Miller, 43 F.3d 1322,
   10   1326 (9th Cir. 1995). In assessing whether a waiver has occurred, “an overarching
   11   consideration is whether allowing the privilege to protect against disclosure would
   12   be ‘manifestly unjust’ to the opposing party.” Id. Each of these factors strongly
   13   support disclosure of the documents that Defendants now seek to claw back. (1)
   14   Defendants affirmatively raised the metering guidance and prioritization-based
   15   queue management documents as a key part of their purported defense. See Dkt.
   16   283 at ¶ 7 (citing metering guidance in Defendants’ Answer); Dkt. 406 at 10 (citing
   17   both documents in opposition to class certification); Confed. Tribes of the Chehalis
   18   Reserv. v. Thurston, 2009 WL 3835304, at *5 (W.D. Wash. 2009) (asserting a
   19   defense in an answer is an “affirmative act”). (2) Defendants put Document K at
   20   issue by claiming that the metering policy is evidence that turnbacks occurred based
   21   on “operational capacity” concerns. Document K undermines this defense by
   22   showing that Defendants were considering a different capacity metric. (3) This
   23   information is vital to Plaintiffs’ claims—indeed, this is the very issue that Judge
   24   Bashant identified as critical to this litigation in her motion to dismiss opinion. Dkt.
   25   280 at 60. Accordingly, Defendants have waived any privilege claim that they may
   26   have regarding Document K.
   27   Dated: August 18, 2020
   28                                             ETHAN P. DAVIS
                                                              JOINT MOTION FOR DETERMINATION OF
                                                   14                         DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 524 Filed 08/18/20    PageID.35823     Page
                                   17 of 19

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                                                     JOINT MOTION FOR DETERMINATION OF
                                           15                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 524 Filed 08/18/20     PageID.35824   Page
                                   18 of 19

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                                                     JOINT MOTION FOR DETERMINATION OF
                                           16                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC    Document 524 Filed 08/18/20       PageID.35825     Page
                                    19 of 19

    1                            CERTIFICATE OF SERVICE
    2        I certify that I caused a copy of the foregoing document to be served on all
    3   counsel via the Court’s CM/ECF system.
    4   Dated: August 18, 2020                      MAYER BROWN LLP
    5

    6                                               By /s/ Stephen M. Medlock

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                                                          JOINT MOTION FOR DETERMINATION OF
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